                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5      ATTORNEYS FOR     Defendant,
                            CHRISTIAN BARRON-RUEDA
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 7
 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10                                                 * * * * * * * *
11    UNITED STATES OF AMERICA,                          Case No.: 1:12-CR-00040 LJO-SKO
12                  Plaintiff,                            STIPULATION TO CONTINUE STATUS
                                                               CONFERENCE AND ORDER
13          vs.
14    CHRISTIAN BARRON-RUEDA,
                                                         Date: January 7, 2013
15                  Defendant.                           Time: 8:30 a.m.
                                                         Judge: Hon. Lawrence J. O’Neill
16
17         IT IS HEREBY STIPULATED by and between the parties hereto,

18   that the status conference currently scheduled for Monday,

19   January 7, 2013, be continued to Monday, February 11, 2013, at

20   10:00 a.m.         This continuance is requested based upon the fact

21   that counsel for the Defendant herein needs additional time for

22   investigation and preparation relative to this case.

23   Specifically, current counsel substituted into the case only

24   recently and has commenced work as related to the plea offer

25   which has been extended to the Defendant.                         The bottom line is

26   that discovery is voluminous and counsel needs to be able to

27   thoroughly review said discovery in order to assess the

28   Defendant’s position such that a professional and appropriate
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 1   response can be made to the government’s plea offer.           Counsel has
 2   embarked upon said review of the discovery and was only first
 3   able to meet with Defendant BARRON-RUEDA on Sunday, December 16,
 4   2012, at the Lerdo facility in order to commence attorney-client
 5   discussions with the aid of an interpreter.
 6         These circumstances have been related to Assistant United
 7   States Attorney Kathleen Servatius, who expresses no objection to
 8   the requested continuance.
 9          The parties stipulate and agree that the interests of
10   justice served by granting this continuance outweigh the best
11   interests of the public and the defendant in a speedy trial and
12   that the delay from the continuance shall be excluded from the
13   calculation of time under the Speedy Trial Act pursuant to 18
14   U.S.C. §§ 3161(h)(7)(A) and (B)(iv).
15         It is your Declarant’s opinion that a continuance such as
16   requested shall not prejudice any party concerned with this
17   matter.
18         DATED: December 20, 2012.          NUTTALL & COLEMAN
19
20                                            By: /s/ Roger T. Nuttall
                                                 ROGER T. NUTTALL
21                                               Attorneys for Defendant,
                                                 CHRISTIAN BARRON-RUEDA
22
23         DATED: December 20, 2012.          BENJAMIN B. WAGNER
                                              United States Attorney
24
25
                                              By: /s/ Kathleen Servatius
26                                                 KATHLEEN SERVATIUS
                                                   Attorney for Plaintiff
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 1                                  O R D E R
 2   The motion is granted.        Time is excluded based on the good cause
 3   stated.    To put this matter out so far into the future, at the
 4   February status conference, either a change of plea will be
 5   taken or a trial date will be set.
 6   IT IS SO ORDERED.
 7   Dated:    December 20, 2012        /s/ Lawrence J. O'Neill   B9ed48
                                        UNITED STATES DISTRICT JUDGE
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